                            Case 08-51286         Doc 26      Filed 04/30/13        Page 1 of 1
Form 301

                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


      In Re:
                                                                         )
      Raimond B. Hall  xxx−xx−8855                                       ) Case Number: 08−51286
      Terry B Hall  xxx−xx−0850                                          )
                                                                         ) Chapter: 13
                                              Debtor(s)                  )




           ORDER RESTRICTING PUBLIC ACCESS TO PROOF OF CLAIM ATTACHMENTS



          An Ex Parte Motion for an Order to restrict public access to the attachments to claim(s) was filed
      by CITI in the above−named case. The Court has considered the motion and finds that no further
      notice need be provided to grant the relief requested, and based on the motion, the pleadings in the
      case, and the applicable law, cause exists for granting the relief requested. Wherefore, it is

           ORDERED that the Motion is granted; and it is further

           ORDERED that the Clerk of this Court is hereby directed to restrict public access on the Court's
      electronic filing system to the attachments to the claim(s) identified in the Motion of CITI. Access to
      the attachments to the claim(s) may be provided to the Debtor(s), Debtor's attorney, the Trustee, and
      the Bankruptcy Administrator upon request; and it is further

           ORDERED that the relief granted herein shall not have any substantive or material effect upon
      the validity, priority, or status of the original claims, any orders allowing or disallowing or otherwise
      relating to the original claims, any deadlines for objecting to the original claims, any assignments of
      the claims, or any distributions made or to be made upon the original or assigned claims; and it is
      further

           ORDERED that in the event the above−named case is closed, it will not be necessary for the case
      to be reopened, and no fees relating to the filing of the Motion are to be charged to CITI; and it is
      further

           ORDERED that the Court shall retain jurisdiction relating to the implementation and
      interpretation of this Order.




      Dated: 4/30/13
